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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
JAMEL FRAZIER and PHILLIP BAZILE,
individually and on behalf of all other persons Docket No: 17-cv-4197
similarly situated,

                                            Plaintiffs,
                                                          CLASS AND COLLECTIVE ACTION
                      - against –                                  COMPLAINT

ALPHA CLEANING SERVICES INC., MAJESTIC
CLEANING INC., NEW YORK COMMERCIAL
CLEANING SERVICES, INC. all d/b/a ALPHA
CLEANING INC, D B MAINTENANCE CO INC,
and/or MAJESTIC CLEANING and/or any other
affiliated entities,

                                          Defendants.

       Named Plaintiffs Jamel Frazier and Phillip Bazile (together “Named Plaintiffs”) by their

attorneys, Virginia and Ambinder, LLP, allege upon knowledge to themselves and upon

information and belief as to all other matters as follows:

                                PRELIMINARY STATEMENT

       1.       This action is brought pursuant to the Fair Labor Standards Act (“FLSA”) 29

U.S.C. §§ 206, 207 and 216(b), New York Labor Law (“NYLL”) Article 6 §§ 190, et seq.,

Article 19 § 663, and 12 New York Codes, Rules, and Regulations (“NYCRR”) §§ 142-2.1 and

142-2.2 to recover all unpaid minimum wages and overtime compensation due and owing to

Named Plaintiffs and all similarly situated persons who were formerly or are presently employed

by ALPHA CLEANING SERVICES INC., MAJESTIC CLEANING INC., NEW YORK

COMMERCIAL CLEANING SERVICES, INC. all d/b/a ALPHA CLEANING INC, D B

MAINTENANCE CO INC, and/or MAJESTIC CLEANING and/or any other affiliated entities

(collectively “Defendants”). Named Plaintiffs also initiate this action seeking statutory damages




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for themselves and on behalf of those similarly situated pursuant to NYLL §§ 195 and 198

arising from Defendants’ failure to provide them with wage statements and wage notifications.

       2.       Named Plaintiffs bring their FLSA claim as a collective action under 29 U.S.C. §

216(b). Named Plaintiffs’ consent forms are attached hereto as Exhibits A and B.

       3.       At all times relevant to this litigation, Defendants have engaged in a policy and

practice of failing to pay Named Plaintiffs and putative class members at the minimum wage rate

for all hours worked and requiring Named Plaintiffs and members of the putative class and

collective to regularly work over forty (40) hours in a week without paying them overtime wages

at a rate of one and one-half times their regular hourly wage.

       4.       At all times relevant to this litigation, Defendants have engaged in a policy and

practice of failing to provide Named Plaintiffs and members of the putative class and collective

statutorily required wage notices and wage statements pursuant to New York Labor Law §§ 195

and 198.

       5.       Named Plaintiffs have initiated this action on their own behalf, and on behalf of

all similarly situated employees, seeking unpaid minimum wages and overtime compensation

that Named Plaintiffs and all similarly situated employees were deprived of plus interest,

damages, attorneys’ fees, and costs, and statutory damages, including damages for wage

statement and notice violations.

                                        JURISDICTION

       6.       Jurisdiction of this Court is invoked pursuant to the FLSA, 29 U.S.C. §§ 207 and

216(b) and 28 U.S.C. §§ 1331 and 1337. This Court also has supplemental jurisdiction over all

New York State Law claims pursuant to 28 U.S.C. § 1367.




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       7.       The statute of limitations under the FLSA for willful violations is three (3) years.

See 29 U.S.C. § 255(a).

       8.       The statute of limitations under the NYLL is six (6) years. See New York Labor

Law § 198(3).

                                             VENUE

       9.       Venue for this action in the Southern District of New York is appropriate under

28 U.S.C. § 1391(b) as a substantial part of the events or omissions giving rise to the claims

occurred in the Southern District of New York.

                                         THE PARTIES

       10.      Named Plaintiff Phillip Bazile resides in New York, New York and was

employed by Defendants to perform cleaning and maintenance services.

       11.      Named Plaintiff Jamel Frazier resides in New York, New York and was employed

by Defendants to perform cleaning and maintenance services.

       12.      Upon information and belief, Defendant Alpha Cleaning Services Inc. (“Alpha”),

is a domestic corporation incorporated under the laws of the State of New York with its principal

place of business at 2476 N Jerusalem Rd, North Bellmore, NY 11710.

       13.      Upon information and belief, Defendant Majestic Cleaning Inc. (“Majestic”), is a

domestic corporation incorporated under the laws of the State of New York with its principal

place of business at 2476 N Jerusalem Rd, North Bellmore, NY 11710.

       14.      Upon information and belief, Defendant New York Commercial Cleaning

Services, Inc. (“NY Commercial Cleaning”), is a domestic corporation incorporated under the

laws of the State of New York with its principal place of business at 2476 N Jerusalem Rd, North

Bellmore, NY 11710.



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                  CLASS AND COLLECTIVE ACTION ALLEGATIONS

       15.     This action is properly maintainable as a collective action pursuant to the FLSA

29 U.S.C. § 216(b) and as a Class Action under Rule 23 of the Federal Rules of Civil Procedure.

       16.     This action is brought on behalf of Named Plaintiffs and a class consisting of

similarly situated employees who worked for Defendants performing work relating to

Defendants’ cleaning and maintenance business.

       17.     Named Plaintiffs and members of the putative class and collective are all victims

of Defendants’ common policy and/or plan to violate the FLSA by failing to pay them minimum

wages, and overtime wages at the rate of one and one half times the regular rate of pay for all

time worked in excess of forty (40) hours in any given week, pursuant to 29 U.S.C. §§ 206 and

207.

       18.     Named Plaintiffs and members of the putative class and collective are all victims

of the Defendants’ common policy and/or plan to violate the NYLL by failing to provide wage

notices and wage statements, pursuant to NYLL§§ 195-1 and 195-3.

       19.     The putative class is so numerous that joinder of all members is impracticable.

The size of the putative class is believed to be in excess of forty (40) employees.

       20.     The questions of law and fact common to the putative class predominate over any

questions affecting only individual members. These questions of law and fact include, but are not

limited to: (1) whether Defendants failed to pay minimum wages; (2) whether Defendants failed

to pay overtime wages, at the rate of one and one half times the regular rate of pay, for all hours




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worked in excess of forty (40) hours in any given week; and (3) whether Defendants failed to

provide wage notices and wage statements.

       21.      The claims of Named Plaintiffs are typical of the claims of the putative class

members. Named Plaintiffs, like all members of the putative class, were subject to Defendants’

policies and willful practice of refusing to pay employees minimum wages and overtime

compensation, and failing to provide wage notices and wage statements. Named Plaintiffs and

putative class members have thus sustained similar injuries as a result of Defendants’ actions.

       22.      Named Plaintiffs and their counsel will fairly and adequately protect the interests

of the putative class. Named Plaintiffs have retained counsel experienced in complex wage and

hour class and collective action litigation.

       23.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Named Plaintiffs and putative class action members lack the

financial resources to adequately prosecute separate lawsuits against Defendants. A class action

will also prevent unduly duplicative litigation resulting from inconsistent judgments pertaining to

Defendants’ policies.

                                               FACTS

       24.      Defendants employed Named Plaintiffs to provide cleaning and maintenance

services.

       25.      Upon information and belief, Named Plaintiffs and putative class members are

non-exempt employees of Defendants.

       26.      Upon information and belief, Defendants operate a cleaning and maintenance

business that provides cleaning and janitorial services to buildings including but not limited to

restaurants, commercial properties, offices and office buildings, night clubs, and bars.



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       27.       Named Plaintiff Phillip Bazile worked for Defendants from approximately July

2016 to February 2017 performing cleaning and maintenance services for Defendants. Named

Plaintiff Bazile typically worked seven (7) days per week, approximately five (5) to eight (8)

hours per day.

       28.       Named Plaintiff Bazil was typically paid approximately $280.00 to $420.00 per

week for his work, regardless of the number of hours he worked.

       29.       Named Plaintiff Jamel Frazier worked for Defendants from approximately

November 2015 to February 2017 performing cleaning and maintenance services for Defendants.

Named Plaintiff Frazier typically worked seven (7) days per week, approximately nine (9) hours

per day.

       30.       Named Plaintiff Frazier was typically paid approximately $280.00 to $500.00 per

week, regardless of the number of hours worked.

       31.       Defendants did not pay Named Plaintiffs at the lawful minimum wage rate for all

hours worked.

       32.       Despite regularly working far in excess of 40 hours in a week, Defendants did not

pay Named Plaintiffs overtime compensation at the rate of one-and-one-half times their regular

rates of pay.

       33.       Defendants did not provide Named Plaintiffs with wage notifications indicating,

among other things, their regular or overtime rate of pay at the time of hiring or at any

subsequent point during their employment.

       34.       During Named Plaintiffs’ employment with Defendants, Named Plaintiffs were

not provided with wage statements that reflected, among other things, the hours they worked,

their regular rate of pay, or their overtime rates of pay.



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       35.     Upon information and belief, like Named Plaintiffs, Named Plaintiffs’ co-workers

were not paid at the lawful minimum wage rate for all hours worked.

       36.     Upon information and belief, like Named Plaintiffs, Named Plaintiffs’ co-workers

also regularly worked over 40 hours in a week.

       37.     Upon information and belief, like Named Plaintiffs, Named Plaintiffs’ co-workers

were also paid at their regular rate of pay for all hours worked, including hours worked in excess

of forty (40) per week.

       38.     Defendants maintained a policy and practice of not compensating their Named

Plaintiffs and putative class members at one-and-one-half times their regular hourly wage

whenever they work more than forty (40) hours in a given week.

       39.     Defendants maintained a policy and practice of not providing Name Plaintiffs and

putative class members with wage notifications at the time of hire indicating each employee’s

regular rate of pay and overtime rate of pay.

       40.     Defendants maintained a policy and practice of not providing Named Plaintiffs

and putative class members the statutorily required wage statements indicating each employee’s

regular rate of pay, overtime rate of pay, or hours worked during a particular pay period.

       41.     Upon information and belief, ALPHA CLEANING SERVICES INC.,

MAJESTIC CLEANING INC., NEW YORK COMMERCIAL CLEANING SERVICES, INC.

all d/b/a ALPHA CLEANING INC, D B MAINTENANCE CO INC, and/or MAJESTIC

CLEANING are a single and/or joint employer in that they share a common business purpose

and ownership, maintain common control, oversight and direction over the operations of the

work performed by Named Plaintiffs and putative class members, including payroll practices.




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       42.     Upon information and belief, Defendants had substantial control of Plaintiffs’

working conditions and over the unlawful policies and practices alleged herein.

       43.     Upon information and belief, Named Plaintiffs and members of the putative class

performed labor for the benefit of and at the direction of Defendants.

       44.     Upon information and belief, at all relevant times, Defendants had the power to

determine employee policies, including but not limited to policies governing the payment of

wages and overtime compensation to employees.

       45.     Upon information and belief, Defendants’ annual gross volume of sales made or

business done is not less than $500,000.

       46.     Upon information and belief, Defendants are engaged in interstate commerce,

including handling and working with goods or materials that have been moved in or produced for

interstate commerce.

                              FIRST CAUSE OF ACTION:
                        FLSA MINIMUM WAGE COMPENSATION

       47.     Named Plaintiffs repeat and re-allege the allegations set forth above.

       48.     Pursuant to 29 U.S.C. § 206, “Every employer shall pay to each of his employees

who in any workweek is engaged in commerce or in the production of goods for commerce, or is

employed in an enterprise engaged in commerce or in the production of goods for commerce,

wages at the following rates: (1) except as otherwise provided in this section, not less than— (A)

$5.85 an hour, beginning on the 60th day after May 25, 2007; (B) $6.55 an hour, beginning 12

months after that 60th day; and (C) $7.25 an hour, beginning 24 months after that 60th day.”

       49.     Pursuant to 29 U.S.C. § 203(d), an “employer” includes “any person acting

directly or indirectly in the interest of an employer in relation to an employee and includes a




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public agency, but does not include any labor organization (other than when acting as an

employer) or anyone acting in the capacity of officer or agent of such labor organization.”

        50.    Named Plaintiffs are employees, within the meaning contemplated in FLSA, 29

U.S.C. § 203(e).

        51.    Pursuant to 29 U.S.C. § 203(d), and the cases interpreting the same, Defendants

are “employer[s]” for the purpose of the FLSA and, consequently, are liable for violations of the

FLSA.

        52.    Upon information and belief, Defendants failed to pay Plaintiffs and putative

collective members at the lawful minimum wage rate for all hours worked.

        53.    Upon information and belief, Defendants’ failure to pay Plaintiffs at the minimum

wage rate was willful.

        54.    By the foregoing reasons, Defendants are liable to Named Plaintiffs and putative

collective members in an amount to be determined at trial, plus liquidated damages in the amount

equal to the amount of unpaid wages, interest, attorneys’ fees and costs.

                                SECOND CAUSE OF ACTION
                                 FLSA OVERTIME WAGES

        55.    Named Plaintiffs repeat and re-allege the allegations set forth in the preceding

paragraphs.

        56.    Pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 207, “no

employer shall employ any of his employees who in any workweek is engaged in commerce or

in the production of goods for commerce, for a workweek longer than forty hours unless such

employee receives compensation for his employment in excess of the hours above specified at a

rate not less than one and one-half times the regular rate at which he is employed.”




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        57.     Pursuant to 29 U.S.C. § 203(d), an “employer” includes “any person acting

directly or indirectly in the interest of an employer in relation to an employee and includes a

public agency, but does not include any labor organization (other than when acting as an

employer) or anyone acting in the capacity of officer or agent of such labor organization.”

        58.     Defendants are employers within the meaning contemplated in the FLSA, 29

U.S.C. § 203(d).

        59.     Named Plaintiffs and other members of the putative collective are employees,

within the meaning contemplated in in the FLSA, 29 U.S.C. §203(e).

        60.     Defendants failed to pay Named Plaintiffs and, upon information and belief, other

members of the putative collective overtime wages earned for the time they worked for

Defendants after the first forty (40) hours in any given week.

        61.     Upon information and belief, Defendants’ failure to pay Named Plaintiffs and

members of the putative collective their rightfully owed wages was willful.

        62.     By the foregoing reasons, Defendants are liable to Named Plaintiffs and members

of the putative collective in an amount to be determined at trial, plus liquidated damages,

interest, attorneys’ fees and costs.

                            THIRD CAUSE OF ACTION:
                     NEW YORK MINIMUM WAGE COMPENSATION

        63.     Named Plaintiffs repeat and re-allege the allegations set forth above.

        64.     12 NYCRR 142-2.1 states that “[t]he basic minimum hourly rate shall be . . . (2)

$7.25 per hour on and after July 24, 2009; (3) $8.00 per hour on and after December 31, 2013;

(4) $8.75 per hour on and after December 31, 2014; (5) $9.00 per hour on and after December

31, 2015.” 12 NYCRR § 146-1.2. Additionally, the minimum hourly wage for large employers




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of eleven or more employees in New York City is $11.00 per hour on and after December 31,

2016. 12 NYCRR § 146-1.2(a)(1)(i).

       65.     New York Labor Law § 663, provides that “[i]f any employee is paid by his

employer less than the wage to which he is entitled under the provisions of this article, he may

recover in a civil action the amount of any such underpayments, together with costs and such

reasonable attorney’s fees.”

       66.     Defendants are “employer[s]” within the meaning contemplated, pursuant to

NYLL Article 19 § 651(6) and the supporting New York State Department of Labor Regulations.

       67.     Named Plaintiffs and putative class members are employees within the meaning

contemplated, pursuant to NYLL Article 19 § 651(5) and the supporting New York State

Department of Labor Regulations.

       68.     Defendants violated 12 NYCRR § 142-2.1 by failing to pay Named Plaintiffs at

the minimum wage rate for all hours they worked.

       69.     Upon information and belief, Defendants violated 12 NYCRR § 142-2.1 by

failing to pay putative class members for all hours they worked.

       70.     Consequently, by failing to pay Named Plaintiffs and putative class members

minimum wages for all hours worked, Defendants violated New York Labor Law § 663 and 12

NYCRR § 142-2.1.

       71.     Upon information and belief, Defendants’ failure to pay minimum wages for work

performed by Named Plaintiffs and putative class members was willful.

       72.     By the foregoing reasons, Defendants are liable to Named Plaintiffs and the

putative class in an amount to be determined at trial, plus liquidated damages, interest, attorneys’

fees, and costs.



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                          FOURTH CAUSE OF ACTION
                    NEW YORK OVERTIME COMPENSATION LAW

       73.     Named Plaintiffs repeat and re-allege the allegations set forth in the preceding

paragraphs.

       74.     12 NYCRR § 142-2.2 requires that “[a]n employer shall pay an employee for

overtime at a wage rate of 1 ½ times the employee’s regular rate” for hours worked in excess of

40 hours in one workweek.

       75.     New York Labor Law § 663, provides that “[i]f any employee is paid by his

employer less than the wage to which he is entitled under the provisions of this article, he may

recover in a civil action the amount of any such underpayments, together with costs and such

reasonable attorney’s fees.”

       76.     Defendants are employers, within the meaning contemplated, pursuant to New

York Labor Law Article 19 § 651(6) and the supporting New York State Department of Labor

Regulations.

       77.     Named Plaintiffs and members of the putative class are employees, within the

meaning contemplated, pursuant to New York Labor Law Article 19 § 651(5) and the supporting

New York State Department of Labor Regulations.

       78.     Named Plaintiffs and members of the putative class worked more than forty (40)

hours a week while working for Defendants.

       79.     Named Plaintiffs and members of the putative class did not receive overtime

compensation for hours worked after the first forty (40) hours in a week.




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         80.   Upon information and belief, Defendants’ failure to pay overtime compensation

for work performed by Named Plaintiffs and members of the putative class after the first forty

hours worked in a week was willful.

         81.   By the foregoing reasons, Defendants have violated New York Labor Law § 663

and 12 NYCRR § 142-2.2, and are liable to Named Plaintiffs and members of the putative class

in an amount to be determined at trial, plus liquidated damages, interest, attorneys’ fees, and

costs.

                           FIFTH CAUSE OF ACTION
                    NEW YORK § 195(1) WAGE NOTICE VIOLATION

         82.   Named Plaintiffs repeat and re-allege the allegations set forth in the preceding

paragraphs.

         83.   Pursuant to Section 195(1) of the NYLL, an employer is required to provide its

employees at the time of hiring a notice containing information, such as, “the rate or rates of pay

and basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;

. . . the regular pay day designated by the employer . . .; [and] the name of the employer . . . . For

all employees who are not exempt from overtime compensation . . ., the notice must sate the

regular hourly rate and overtime rate of pay.”

         84.   Pursuant to Section 198-1(b) of the NYLL, an employee that does not receive a

wage notification, as required by NYLL § 195(1), may bring a civil action to recover damages of

$250 for each work day that the violation occurs or continues to occur, but not to exceed $5,000.

         85.   At the time of hire, Defendants did not provide Named Plaintiffs or members of

the putative class with wage notifications informing them of, among other things, (1) their

regular rates of pay, (2) their overtime rates of pay, (3) the basis of their rates of pay (e.g.,

whether they were hourly employees), or (4) the regular pay day designated by Defendants.

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       86.     Defendants violated NYLL § 195(1) by failing to provide Named Plaintiffs and

members of the putative class with wage notifications containing the information required by

NYLL § 195, et seq.

       87.     The failure of Defendants to provide Named Plaintiffs and members of the

putative class with wage notifications in violation of NYLL § 195 was willful.

       88.     By the foregoing reasons, Defendants are liable to Named Plaintiffs and members

of the putative class the statutory amounts, plus attorney’s fees, costs, and any other damages

permitted under the NYLL.

                           SIXTH CAUSE OF ACTION
                 NEW YORK § 195(3) WAGE STATEMENT VIOLATION

       89.     Named Plaintiffs repeat and re-allege the allegations set forth in the preceding

paragraphs.

       90.     Pursuant to Section 195(3) of the New York Labor Law, an employer is required

to furnish each employee with a statement with every payment of wages that identifies, among

other things, whether the employee is paid by the hour, shift, day, week, salary, piece,

commission, or in another manner. For employees that are not exempt from overtime

compensation under New York state law or regulation, such wage statement must also include

“the regular hourly rate or rates of pay; the overtime rate or rates of pay; the number of regular

hours worked, and the number of overtime hours worked.”

       91.     Pursuant to 12 NYCRR § 142-2.7 employers are required to “furnish to each

employee a statement with every payment of wages, listing hours worked, rates paid, gross

wages, allowances, if any, claimed as part of the minimum wage, deductions and net wages.”

       92.     Pursuant to Section 198-1(d) of the New York Labor Law, an employee that does

not receive a wage statement, as required by NYLL § 195(3), may bring a civil action to recover

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damages of $50 for each work day that the violation occurs or continues to occur, but not to

exceed $5,000.

       93.     Named Plaintiffs and members of the putative class did not receive accurate wage

statements from the Defendants that reflected, among other things, the number of hours that they

worked, their regular rate of pay, or their overtime rate of pay.

       94.     Defendants violated NYLL § 195(3) and 12 NYCRR § 142-2.7 by failing to

provide Named Plaintiffs and members of the putative class with wage statements containing the

information required by NYLL § 195(3) and 12 NYCRR § 142-2.7.

       95.     Upon information and belief, Defendants’ failure to provide Named Plaintiffs and

members of the putative class with wage statements in violation of NYLL § 195 and 12 NYCRR

§ 142-2.7 was willful.

       96.     By the foregoing reasons, Defendants are liable to Named Plaintiffs and members

of the putative class and collective the statutory amounts, plus attorney’s fees, costs, and any

other damages permitted under the NYLL.

       WHEREFORE, Named Plaintiffs and putative class members demand judgment:

       1.      on their first cause of action against Defendants, in an amount to be determined at

trial, plus liquidated damages, interest, attorneys’ fees and costs;

       2.      on their second cause of action against Defendants, in an amount to be determined

at trial, plus liquidated damages, interest, attorneys’ fees and costs;

       3.      on their third cause of action against Defendants, for all statutory damages

permitted under the NYLL plus attorneys’ fees and costs;

       4.      on their fourth cause of action, against Defendants, for all statutory damages

permitted under the NYLL plus attorneys’ fees and costs; and



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       5.     on their fifth cause of action, against Defendants, for all statutory damages

permitted under the NYLL plus attorneys’ fees and costs; and

       6.     on their sixth cause of action, against Defendants, for all statutory damages

permitted under the NYLL plus attorneys’ fees and costs; and

       7.     any other and further relief the Court may deem just and proper.

Dated: New York, New York
       June 5, 2017
                                              VIRGINIA & AMBINDER, LLP

                                              By:     s/Lloyd Ambinder, Esq. .
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